Case No. 1:05-cv-00735-RPM Document 3 filed 07/15/05 USDC Colorado pg 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                           Senior District Judge Richard P. Matsch

Civil Action No. 05-cv-0735-RPM

RHONDA CALDERON,
DAVID JOSEPH DEHERRERA,
TYLER JASON DEHERRERA,

                     Plaintiffs,

v.

ROY BREIVIK,
ROBERT HENDRIX,
RHONDA TAYLOR,
JASON HJELM, and
CITY OF STERLING, COLORADO,

                     Defendants.


                        ORDER SETTING SCHEDULING CONFERENCE


       Pursuant to D.C.COLO.LCivR 16.2A and 29.1, it is

       ORDERED that a scheduling conference will be held on Se p te mb e r 8 , 2 0 0 5 ,

at 3 : 3 0 p .m. in the Conference Room, Second Floor, the Byron White United States

Courthouse, 18th and Stout Streets, Denver, Colorado. Counsel are directed to comply with

the Instructions for Preparation of Scheduling Order which may be found at the Court’s

website at www.co.u scou rts.g ov / j u d g e s-f ra me .h tm and use
Case No. 1:05-cv-00735-RPM Document 3 filed 07/15/05 USDC Colorado pg 2 of 2




the format provided with those instructions. Proposed orders are to be sent to Chambers E-

mail address, Matsch _C h amb e rs@cod .uscou rts.gov .

       Dated: July 15th, 2005

                                          BY THE COURT:

                                          s/Richard P. Matsch

                                          _______________________________________
                                          Richard P. Matsch, Senior District Judge
